Case 2:05-cr-00126-RHW   ECF No. 1160   filed 01/16/07   PageID.7162 Page 1 of 6
Case 2:05-cr-00126-RHW   ECF No. 1160   filed 01/16/07   PageID.7163 Page 2 of 6
Case 2:05-cr-00126-RHW   ECF No. 1160   filed 01/16/07   PageID.7164 Page 3 of 6
Case 2:05-cr-00126-RHW   ECF No. 1160   filed 01/16/07   PageID.7165 Page 4 of 6
Case 2:05-cr-00126-RHW   ECF No. 1160   filed 01/16/07   PageID.7166 Page 5 of 6
Case 2:05-cr-00126-RHW   ECF No. 1160   filed 01/16/07   PageID.7167 Page 6 of 6
